                               United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

                                                            July 21, 2023


Mr. Nicholas J. Bronni
ATTORNEY GENERAL'S OFFICE
200 Catlett-Prien Building
323 Center Street
Little Rock, AR 72201-0000

       RE: 23-2681 Dylan Brandt, et al v. Tim Griffin, et al

Dear Counsel:

        The district court clerk has transmitted a notice of appeal and docket entries in this
matter, and we have docketed them under the caption and case number shown above. Please
include the caption and the case number on all correspondence or pleadings submitted to this
court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

        We note the docketing fee is pending. Please pay the $505 docket and filing fees to
the district court clerk immediately. Failure to pay the fee will result in issuance of an
order to show cause why the appeal should not be dismissed.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please refer to the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A. Sample briefs may be obtained by contacting the St. Louis
Clerk's office.

        Within 14 days of today's date, counsel for appellant must: (1) file a verification that any
transcripts needed for the appeal have been ordered and that satisfactory arrangements have been
made for payment, and (2) file a notice of the method of appendix preparation selected for the
case. Eighth Circuit Rule 30A contains detailed information on appendix preparation.




   Appellate Case: 23-2681         Page: 1           Date Filed: 07/21/2023 Entry ID: 5298264
        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to file your brief will result in issuance of a show cause order and may
lead to dismissal of the appeal. Requests for extensions of time must be timely and should
establish good cause. Overlength briefs are strongly discouraged.

       Please note the provisions of Eighth Circuit Rule 32A governing briefs and reply briefs
responding to multiple briefs.

        If you have any questions about the schedule or procedures for the case, please contact
our office

                                                     Michael E. Gans
                                                     Clerk of Court

AEV

Enclosure(s)

cc:      Mr. Garrard R. Beeney
         Mr. Michael A. Cantrell
         Ms. Clerk, U.S. District Court, Eastern District of Arkansas
         Ms. Leslie Cooper
         Ms. Karen Dellinger
         Ms. Sharon Elizabeth Echols
         Mr. James D. Esseks
         Ms. Sarah C. Everett
         Ms. Valarie Flora
         Ms. Lauren Maisel Goldsmith
         Mr. Aviv S. Halpern
         Ms. Elaine M Hinson
         Mr. Alexander S. Holland
         Mr. Dylan L. Jacobs
         Mr. Jonathan G. Lester
         Mr. Peter Drake Mann
         Ms. Maxime D. Matthew
         Mr. Li Nowlin-Sohl
         Ms. Laura Kabler Oswell
         Mr. Daniel J. Richardson
         Mr. Chase B. Strangio
         Ms. Hannah Lorraine Templin
         Mr. Christopher L. Travis
         Ms. Breean Walas

            District Court/Agency Case Number(s): 4:21-cv-00450-JM




      Appellate Case: 23-2681       Page: 2     Date Filed: 07/21/2023 Entry ID: 5298264
Caption For Case Number: 23-2681

Dylan Brandt, by and through his mother Joanna Brandt; Joanna Brandt; Sabrina Jennen, by and
through her parents Lacey and Aaron Jennen; Lacey Jennen; Aaron Jennen; Brooke Dennis, by
and through her parents Amanda and Shayne Dennis; Amanda Dennis; Shayne Dennis; Parker
Saxton, by and through his father Donnie Saxton; Donnie Saxton; Michele Hutchison, on behalf
of herself and her patients; Kathryn Stambough, on behalf of herself and her patients

            Plaintiffs - Appellees

v.

Tim Griffin, in his official capacity as the Arkansas Attorney General; Amy E. Embry, in her
official capacity as the Executive Director of the Arkansas State Medical Board; Michael J.
Birrer, in official capacity as member of the Arkansas State Medical Board; Christopher D.
Davis, in official capacity as member of the Arkansas State Medical Board; John H. Scribner, in
official capacity as member of the Arkansas State Medical Board; Elizabeth Anderson, in official
capacity as member of the Arkansas State Medical Board; C. Wesley Kluck, in official capacity
as member of the Arkansas State Medical Board; Edward Gardner, "Ward"; in official capacity
as member of the Arkansas State Medical Board; Rodney Griffin, in official capacity as member
of the Arkansas State Medical Board; Betty Guhman, in official capacity as member of the
Arkansas State Medical Board; Brian L. McGee, in official capacity as member of the Arkansas
State Medical Board; Timothy C. Paden, in official capacity as member of the Arkansas State
Medical Board; Don R. Philips, in official capacity as member of the Arkansas State Medical
Board; Matthew A. Sellers, in official capacity as member of the Arkansas State Medical Board;
Brad A. Thomas, in official capacity as member of the Arkansas State Medical Board; Veryl D.
Hodges, in official capacity as member of the Arkansas State Medical Board

            Defendants - Appellants




     Appellate Case: 23-2681         Page: 3   Date Filed: 07/21/2023 Entry ID: 5298264
Addresses For Case Participants: 23-2681

Mr. Nicholas J. Bronni
ATTORNEY GENERAL'S OFFICE
200 Catlett-Prien Building
323 Center Street
Little Rock, AR 72201-0000

Mr. Garrard R. Beeney
SULLIVAN & CROMWELL
2720
125 Broad Street
New York, NY 10004-2498

Mr. Michael A. Cantrell
ATTORNEY GENERAL'S OFFICE
200 Catlett-Prien Building
323 Center Street
Little Rock, AR 72201-0000

Ms. Clerk, U.S. District Court, Eastern District of Arkansas
U.S. DISTRICT COURT
Eastern District of Arkansas
Room A149
600 W. Capitol Avenue
Little Rock, AR 72201-0000

Ms. Leslie Cooper
AMERICAN CIVIL LIBERTIES UNION FOUNDATION
18th Floor
18th Floor
125 Broad Street
New York, NY 10004-2400

Ms. Karen Dellinger
RICHARD SHEPPARD ARNOLD U.S. COURTHOUSE
C-115
500 W. Capitol Avenue
Little Rock, AR 72201

Ms. Sharon Elizabeth Echols
GILL & RAGON
Suite 3800
425 W. Capitol Avenue
Little Rock, AR 72201-0000

Mr. James D. Esseks
AMERICAN CIVIL LIBERTIES UNION FOUNDATION
18th Floor
125 Broad Street
New York, NY 10004-2400


   Appellate Case: 23-2681        Page: 4      Date Filed: 07/21/2023 Entry ID: 5298264
Ms. Sarah C. Everett
AMERICAN CIVIL LIBERTIES UNION
ACLU of Arkansas
Suite 1
904 W. Second Street
Little Rock, AR 72201-5727

Ms. Valarie Flora
RICHARD SHEPPARD ARNOLD U.S. COURTHOUSE
Room C-118
500 W. Capitol Avenue
Little Rock, AR 72201

Ms. Lauren Maisel Goldsmith
SULLIVAN & CROMWELL
125 Broad Street
New York, NY 10004-2498

Mr. Aviv S. Halpern
SULLIVAN & CROMWELL
550 Hamilton Avenue
Palo Alto, CA 94301-2010

Ms. Elaine M Hinson
C411
600 W. Capitol Avenue
Little Rock, AR 72201-0000

Mr. Alexander S. Holland
SULLIVAN & CROMWELL
125 Broad Street
New York, NY 10004-2498

Mr. Dylan L. Jacobs
ATTORNEY GENERAL'S OFFICE
200 Catlett-Prien Building
323 Center Street
Little Rock, AR 72201-0000

Mr. Jonathan G. Lester
SULLIVAN & CROMWELL
125 Broad Street
New York, NY 10004-2498

Mr. Peter Drake Mann
GILL & RAGON
Suite 3800
425 W. Capitol Avenue
Little Rock, AR 72201-0000




   Appellate Case: 23-2681    Page: 5   Date Filed: 07/21/2023 Entry ID: 5298264
Ms. Maxime D. Matthew
SULLIVAN & CROMWELL
125 Broad Street
New York, NY 10004-2498

Mr. Li Nowlin-Sohl
AMERICAN CIVIL LIBERTIES UNION FOUNDATION, INC.
Immigrants' Rights Project
125 Broad Street
New York, NY 10004-0000

Ms. Laura Kabler Oswell
SULLIVAN & CROMWELL
550 Hamilton Avenue
Palo Alto, CA 94301-2010

Mr. Daniel J. Richardson
SULLIVAN & CROMWELL
1700 New York Avenue, N.W.
Washington, DC 20005

Mr. Chase B. Strangio
AMERICAN CIVIL LIBERTIES UNION FOUNDATION
18th Floor
125 Broad Street
New York, NY 10004-2400

Ms. Hannah Lorraine Templin
ATTORNEY GENERAL'S OFFICE
200 Catlett-Prien Building
323 Center Street
Little Rock, AR 72201-0000

Mr. Christopher L. Travis
GILL & RAGON
Suite 3800
425 W. Capitol Avenue
Little Rock, AR 72201-0000

Ms. Breean Walas
WALAS LAW FIRM
711 W. Third Street
Little Rock, AR 72201




   Appellate Case: 23-2681   Page: 6   Date Filed: 07/21/2023 Entry ID: 5298264
